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G,'Pubks44),.Mount. Vernon Police Officer Pattick Kifig’™ > <2

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Marquis Collier 49 CV 52 3 f>,
No. _

Write the full name of each plaintiff.

 

 

(To be filled out by Clerk’s Office)

-against- COMPLAINT
(1) City of Mount Vernon; (2) Mount (Prisoner)

 

Do you want a jury trial?
Vernon Police Detective Camilo R. Antonini; XXXRYes CNo

(3) Mount Vernon Police Officer Robert

 

Write she full ere Of each defendant. If you cannot fit the
names of all of the defendants in the space provided, please
write “see attached” in the space above and attach an

 

4 are

  

 

 

additional sheet of paper with the full list of names. The we oto
names listed above must be identical to those contained in wel 3
Section IV. ;
a

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to bea minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

Rey. $/6/16

 
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I. LEGAL BASIS FOR CLAIM

State below the federal legal basis for your claim, if known. This form is designed primarily for
prisoners challenging the constitutionality of their conditions of confinement; those claims are
often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or ina
“Bivens” action (against federal defendants).

XXX Violation of my federal constitutional rights
Cl] Other:
fl. PLAINTIFF INFORMATION

 

Each plaintiff must provide the following information. Attach additional pages if necessary.

Marquis Collier

 

First Name Middle Initial Last Name

 

State any other names (or different forms.of. your name) you have ever ised, Tricluding any name
you have used j in previously filing a lawsuits

200645

Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number (such as your DIN or NYSID) under which you were held)

wenger fe

 

Westchester County D.0.Cc.

 

Current Place of Detention

P.O. BOX 10

 

Institutional Address

Valhalla, New York 10595
County, City State Zip Code

III. PRISONER STATUS

 

Indicate below whether you are a prisoner or other confined person:
XXRX Pretrial detainee
T) Civillv committed detainee
. umnmigration detainee
(J Convicted and sentenced prisoner
Li Other:

 
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IV. DEFENDANT INFORMATION |

To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach
additional pages as necessary. ,

Defendantl: City of Mount Vernon

 

First Name Last Name Shield #

 

Current Job Title (or other identifying information)
2 Roosevelt Sq.

 

 

Current Work Address
Mount Vernon, New York 10550
County, City State Zip Code

Defendant 2: Camilo R. Antonini

 

First Name —- Last Name Shield #.
1 ES ia 8 oo ~

ves se “Police Detective |
Current Job Title (or other identifying information)

2 Roosevelt Sq.
Current Work Address

Mount Vernon, NY 10550

 

County, City State Zip Code
Defendant 3: Robert G. Puff
First Name Last Name Shield #

Mount Vernon Police Officer
Current Job Title (or other identifying information)

2 Roosevelt Sq.

 

 

 

Current Work Address

Mount Vernon, NY 10550

County, City State Zip Code
[oe fondant 4: Patrick King

First Nama ‘ast Name : ely 4

Mount Vernon Police Officer ,
Current Job Title (or other identifying information) :

2 Roosevelt Sq.

 

Current Work Address

Mount Vernon, NY 10550
County, City State Zip Code

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V. STATEMENT OF CLAIM

Place(s) of occurrence: City of Mount Vernon 60 S. Third Ave.between

 

11 second

Date(s) of occurrence:

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and haw each defendant was personally involved in the alleged wrongful actions. Attach
additional pages as necessary.

On January 5, 2017 defendant(s) pulled over a vehicle that

Plaintiff was a passenger in and placed all vehicle occupants at

gunpoint when arrived defendant(s) Puff and Antonini. Plaintiff

 

and_all of the vehicle occupants’ complied with-defendant's orde-. =.
rs. Plaintiff was immediately handcuffed and transported to

Mount Vernon Police Department. Whereas, defendants searched

the vehicle that Plaintiff was a passenger inand recovered no

contraband. However, defendant's transported this vehicle to
the Mount Vernon Police Department and -alledgedly discovered

 

a firearm. Defendant's then falsely charged Plaintiff with

 

Criminal Possession of a weapon in the Second degree, and

 

falsely confined and imprisoned Plaintiff for a period of

48 days with out cause or legal reasoning. Plaintiff was conscio-

us of the confinement, and he did not consent to it. Plaintiff

 

was vindicated of all charges on February 23, 2017 via a West-

 

chester County Court Grandjury.See file # 17-0042-01 Westchester

 

County Court. Plaintiff avers, that the City of Mount Vernon is

 

deliberately indifferent to the rights of the residents of City

 

of Mount Vernon by failing to train and supervise its Police

 

officers as to probable cause requirements, prior to making an

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arrest. Plaintiff further avers, that his confinement was

 

not privileged or supported by legal justification.

 

 

 

 

 

 

 

 

INJURIES:

if you were injured as a result of these actions, describe your injuries and what medical treatment,
if any, you required and received.

- Loss of “liberty; loss of privacy and freewill; violation

 

of rights as secured by the U.S. Const.

 

 

 

 

 

VI. RELIEF

State briefly what money damages or other relief you want the court to order.

Compensatory damages against all defendants in the amount of

 

$500,000.00 jointly and severally;

 

Punitive damages against all defendants in the amount of

$1.,000,000.00 .
Nominal damages against all defendants

 

and cost and Disbursements,

 

 

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VIL. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
‘complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by anonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support'after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

. iuiderstand that if I file three or more cases while I ama prisoner that are dismissed as

frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in
future cases,

| also understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
J\nissed if [have not exhausted administrative remedies as required.

Lagree to provide the Clerk's Office with any changes to my address. T understand that my
raihre to.keep a current address on file with the Clerk's Office may result in the dismissal of my
case, .

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP

 

 

 

 

a
Ze 2 me,
May 25, 2019 Bowen ~
Dated Plaintiff's Sigfrature
ge
Marguis Collier Lo
First Name Middle Initial Last Name

10 Woods Road
Prison Address

Valhalla, New: York 10595
County, City State Zip Code

“Sich Lam delivering this complaint ta sesan quthorities form ding:

__May 25, 2019

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